
The People of the State of New York, Respondent, 
againstCarlos Reyes, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Edward J. McLaughlin, J.), rendered September 11, 2016, convicting him, upon a plea of guilty, of criminal possession of a controlled substance in the seventh degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Edward J. McLaughlin, J.), rendered September 11, 2016, reversed, on the law, accusatory instrument dismissed, fine and surcharge, if paid, remitted.
As the People concede, defendant's conviction must be vacated since the plea record lacks the requisite "affirmative showing" that defendant understood and waived his Boykin rights (Boykin v Alabama, 395 US 238, 242 [1969]; People v Tyrell, 22 NY3d 359, 365 [2013]). The People also agree that dismissal of the accusatory instrument is the appropriate corrective action in this particular case (cf. People v Conceicao, 26 NY3d 375, 385 n 1 [2015]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: October 13, 2017










